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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 BEAUFORT DIVISION

  UNITED STATES OF AMERICA                     )     CRIMINAL NO.:        9:23-cr-396-RMG
                                               )
                   vs.                         )
                                               )
RICHARD ALEXANDER MURDAUGH                     )


              MOTION FOR PROTECTION FROM COURT APPEARANCE

        The undersigned Attorney for the United States requests protection from court appearances

 in the above case from March 21 – 22 and April 3 – 5, 2024. Counsel is scheduled for oral argument

 before the Fourth Circuit on March 22, 2024 and personal travel April 3 through April 5, 2024.



                                              Respectfully submitted,

                                              ADAIR F. BOROUGHS
                                              UNITED STATES ATTORNEY

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 February 29, 2024
